THE COURT.
This is an appeal from an order denying plaintiffs' motion for a change of trial of said action, made upon the ground of the convenience of witnesses.
Plaintiffs brought the action in the county of Sonoma, the county in which the defendants reside. By their motion they sought to have the place of trial changed to the county of Alameda, in which county plaintiffs reside.
[1] A motion for the change of venue based upon the convenience of witnesses is addressed to the sound discretion of the trial court, and an order denying the change can only be reversed for an abuse of discretion (Perky v. Perky, 190 Cal. 492
[213 P. 492]; Pascoe v. Baker, 158 Cal. 232, 235 [110 P. 815]; Miller  Lux v. Kern County Land Co., 140 Cal. 132, 136 [73 P. 836]).
We have examined the several affidavits of the respective parties used by the court upon the hearing of the motion, and we find no abuse of discretion by the court in its ruling upon said motion.
The order is affirmed. *Page 202 